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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


WILDEARTH GUARDIANS,                 )
PHYSICIANS FOR SOCIAL RESPONSIBILITY )
                                     )
          Plaintiffs,                )
                                     )
     v.                              )                        Case No. 1:21-cv-175-RC
                                     )                        The Honorable Rudolph Contreras
DAVID BERNHARDT, et al.,             )
                                     )
          Federal Defendants.        )
                                     )


                                   JOINT STATUS REPORT


       Pursuant to the Court’s Order on December 20, 2021, Plaintiffs, Federal Defendants, and

Intervenors jointly submit the following status report updating the Court on the status of ongoing

settlement negotiations between the parties.

                     Joint Statement of Plaintiffs and Federal Defendants

       On August 10, 2021, Plaintiffs filed a Motion to Stay Proceedings in this litigation for 60

days to facilitate settlement negotiations, explaining that Plaintiffs and Federal Defendants had

reached an agreement in principle on a framework for a settlement agreement that would result

in the stipulated dismissal of this case, as well as two related cases pending before this Court:

Case Nos. 1:16-cv-1724-RC and 1:20-cv-56-RC. See ECF No. 46. Pursuant to the Court’s Order

on October 20, 2021, Plaintiffs and Federal Defendants filed a Joint Status Report on November

3, 2021, informing the Court that the Parties needed additional time to negotiate the specific

language of a final settlement agreement and for Federal Defendants to obtain the higher-level

approvals necessary to formally enter into such an agreement. ECF No. 63.
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        Pursuant to the Court’s November 15, 2021 order, Plaintiffs and Federal Defendants

informed the Court on December 20, 2021 that they had reached agreement in principle on final

language for a settlement agreement, and were in the process of obtaining the necessary final

approvals. In light of the intervening holidays, Federal Defendants represented this process could

take approximately 45 days.

        Federal Defendants now represent that limited additional time is still needed to obtain the

required final approvals. While the Department of Interior’s review of the proposed settlement

agreement has now been completed, final approval from the Department of Justice is still needed

before the settlement agreement can be executed.

        On January 6, 2022, Plaintiffs and Federal Defendants provided the proposed settlement

agreement to Intervenors.

        Because Plaintiffs and Federal Defendants are in the midst of finalizing a negotiated

settlement agreement, and to accommodate the amicable resolution of this litigation and

conserve judicial resources, Plaintiffs and Federal Defendants propose that the Court order them

to file a joint status report within fourteen days, proposing a course for further proceedings, if a

joint motion or stipulation of dismissal cannot be filed within this time, on or before February 17,

2022.

Joint Statement of Intervenors American Petroleum Institute, State of Wyoming, Anschutz
                      Exploration Corporation, and NAH Utah, LLC

        The American Petroleum Institute (“API”) represents, among other groups, lessees that

purchased oil and gas leases during the lease sales challenged in this litigation, and in the two

similar cases filed by Plaintiffs and pending before this Court. In response to solicitations issued

by the United States, the lessees as a whole paid tens of millions of dollars in bonuses to the

United States to obtain the challenged leases, and many lessees have expended significant



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additional resources toward development of the purchased leases. Plaintiffs and Federal

Defendants now indicate in each of the three cases filed before this Court that they have reached

an agreement to settle the pending litigation.

       Despite lessees’ substantial investments in the contract properties that are the subject of

Plaintiffs’ lawsuits, and despite the intervenors’ requests to be included in the settlement

discussions, Plaintiffs and the Federal Defendants have failed to include API or the other

intervenors in the process that led to the purported agreement to settle litigation directly

impacting lessees’ significant interests. For example, the intervenors have not been included in,

or otherwise made aware of, any specific communications regarding settlement or settlement

terms. Only on December 17, 2021, after the Plaintiffs and Federal Defendants circulated the

previous draft status statement, and upon further request from an intervenor, did Plaintiffs and

Federal Defendants provide a brief summary of the proposed settlement framework. And only

on January 6, 2022—two weeks after Plaintiffs and Federal Defendants informed this Court that

an agreement was in the final stages of approval—did Plaintiffs and Federal Defendants provide

the proposed settlement agreements to intervenors.

       In short, Plaintiffs and Federal Defendants repeatedly failed to inform the intervenors of

the precise nature or extent of the settlement impacts on lessees’ substantial contractual and

property interests in their oil and gas leases, or to make any effort whatsoever to ensure that

lessee interests are being addressed. As detailed in API’s prior Response to Joint Status Report

(Dkt. No. 64) and the Joint Statement of the Intervenors (Dkt. No. 67), no stipulation can effect a

dismissal of this case without an order of the Court unless the stipulation is “signed by all parties

who have appeared.” See Fed. R. Civ. P. 41(a)(1)(A)(i)–(ii). In other words, absent the

intervenors’ consent, Plaintiffs and Federal Defendants must file a motion seeking an order of




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dismissal from the Court. See Fed. R. Civ. P. 41(a)(2). The intervenors would need to review

such a motion before determining a position.

       Rather than continue to stay this litigation pending the long closed settlement process,

this Court should exercise its discretion to resolve API’s pending and fully briefed motion to

dismiss Plaintiffs’ claims against the bulk of the challenged lease sales. See API Motion to

Dismiss in Part, or, In the Alternative, for Partial Summary Judgment (Dkt. No. 28). By first

resolving API’s argument that Plaintiffs’ claims are largely time-barred, the Court can both

effectuate congressional intent in adopting a 90-day limitation period for challenges to oil and

gas leases, and narrow the range of issues—and lessee interests—subject to dispute and

settlement.

       By contrast, imposing a settlement upon lessees’ contractual and property interests,

where the intervenors have been excluded from the settlement process and have raised

reasonable grounds for dismissal of the majority of Plaintiffs’ claims, is fundamentally unfair

and unreasonable to intervenors as full parties in the litigation. E.g., District of Columbia v.

Merit Sys. Protection Bd., 762 F.2d 129, 132 (D.C. Cir. 1985) (“Intervenors under Rule 24(a)(2)

assume the status of full participants in a lawsuit and are normally treated as if they were original

parties once intervention is granted.”).



Respectfully submitted on this 3rd day of February 2022.




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 3, 2022, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to all

counsel of record in this case.



                                             /sDaniel L. Timmons
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